Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 1 of 23 PageID #: 745
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 2 of 23 PageID #: 746
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 3 of 23 PageID #: 747
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 4 of 23 PageID #: 748
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 5 of 23 PageID #: 749
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 6 of 23 PageID #: 750
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 7 of 23 PageID #: 751
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 8 of 23 PageID #: 752
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 9 of 23 PageID #: 753
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 10 of 23 PageID #: 754
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 11 of 23 PageID #: 755
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 12 of 23 PageID #: 756
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 13 of 23 PageID #: 757
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 14 of 23 PageID #: 758
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 15 of 23 PageID #: 759
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 16 of 23 PageID #: 760
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 17 of 23 PageID #: 761
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 18 of 23 PageID #: 762
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 19 of 23 PageID #: 763
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 20 of 23 PageID #: 764
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 21 of 23 PageID #: 765
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 22 of 23 PageID #: 766
Case 2:12-cv-06233-ADS-GXB Document 46-3 Filed 06/02/14 Page 23 of 23 PageID #: 767
